    Case 2:21-cv-00180-LEW Document 33 Filed 01/19/22 Page 1 of 3                         PageID #: 59




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


JENNIFER RUTKA,                                  )
                                                 )
         Plaintiff                               )
                                                 )
v.                                               )       2:21-cv-00180-LEW
                                                 )
ATSUSHI TAMAKI,                                  )
                                                 )
         Defendant                               )

                               ORDER ON DISCOVERY ISSUE

         As part of her claim, Plaintiff seeks to recover punitive damages. In discovery,

Plaintiff has requested certain financial information from Defendant. Defendant objects to

providing the information to Plaintiff unless the jury determines Plaintiff is entitled to a

punitive damage award.

         A defendant’s financial status, if presented at trial, is relevant to a jury’s assessment

of a punitive damage claim. See Mitchell ex rel. F.R. v. Bones, 385 F. Supp. 2d 62, 65 n.3

(D. Me. 2005).1 The question is when in advance of a trial a defendant should be required

to provide the information. “The practice in this court, consistent with that of a majority

of federal courts addressing the issue, generally is to permit discovery of financial

information without requiring a plaintiff to establish a prima facie case on the issue of

punitive damages.” Morissette v. Cote Corporation, No. 2-14-cv-00452-JDL, 2016 WL

6902116, at *2 (D. Me. Nov. 22, 2016) (collecting cases). While there might be cause to


1
 As the Court noted in Mitchell, a plaintiff can recover punitive damages without evidence of a defendant’s
net worth. Id.
Case 2:21-cv-00180-LEW Document 33 Filed 01/19/22 Page 2 of 3                  PageID #: 60




deviate from the general rule in certain cases, the Court discerns no reason to do so in this

case.

        The Court nevertheless understands Defendant’s desire to prevent the unnecessary

dissemination of his personal financial information. The Court also perceives no prejudice

to Defendant if the Court limits Defendant’s use of the information to this case.

        The Court, therefore, orders:

        1. Defendant shall produce his financial information. Because the Court discussed

           with the parties and the parties’ written arguments addressed the general

           question of whether Defendant must provide financial information at this stage

           of the proceedings, the Court has not considered whether Defendant must

           provide all the information requested. If Defendant objects to the production of

           certain information requested and the parties are unable to resolve the objection,

           Defendant can request a further discovery conference with the Court.

        2. Plaintiff shall not copy any documents produced or disseminate the information

           to any other person or entity, except as determined by Plaintiff’s counsel to be

           necessary to prosecute Plaintiff’s claim. If Plaintiff’s counsel deems it necessary

           to share the information with another person or entity, counsel shall inform the

           recipient of the prohibition on the dissemination of the information and shall

           obtain from the recipient written acknowledgment that the recipient will not

           disseminate the information to another person or entity.




                                              2
Case 2:21-cv-00180-LEW Document 33 Filed 01/19/22 Page 3 of 3              PageID #: 61




                                        NOTICE

      Any objections to this Order shall be filed in accordance with Federal Rule of Civil

Procedure 72.

                                                /s/ John C. Nivison
                                                U.S. Magistrate Judge

Dated this 19th day of January, 2022.




                                           3
